       2:15-cv-14467-AC-MKM    Doc # 52   Filed 02/28/17   Pg 1 of 2   Pg ID 616




                   UNITED STATES DISTRICT COURT
         EASTERN DISTRICT OF MICHIGAN -- SOUTHERN DIVISION

CYNTHIA ARCHER-GIFT
Individually and on behalf of others similarly situated,

       Plaintiff

-vs-                                          Case No. 2:15-CV-14467
                                              Hon. Avern Cohn
                                              Magistrate Judge: Mona K. Majzoub
CITIGROUP, INC., et al.,

       Defendants
                   NOTICE OF APPEAL
         TO THE SIXTH CIRCUIT COURT OF APPEALS
 FROM THE UNITED STATES DISTRICT COURT EASTERN DISTRICT
            OF MICHIGAN -- SOUTHERN DIVISION

       Take notice that Cynthia Archer-Gift appeals to the Sixth Circuit Court of

Appeals from the judgment entered by Avern Cohn in the United States District

Court Eastern District of Michigan -- Southern Division on 01/30/2017 (Doc. 50)

and the order affirming that judgment entered on 01/30/2017 (Doc. 51).

                                       Respectfully Submitted,

                                       By: s/ Ian B. Lyngklip
                                       Ian B. Lyngklip (P47173)
                                       LYNGKLIP & ASSOCIATES
                                       CONSUMER LAW CENTER, PLC
                                       Attorney For Cynthia Archer-Gift
                                       24500 Northwestern Highway, Ste. 206
                                       Southfield, MI 48075
                                       (248) 208-8864
                                       Ian@MichiganConsumerLaw.Com
Dated: February 28, 2017
     2:15-cv-14467-AC-MKM      Doc # 52   Filed 02/28/17   Pg 2 of 2   Pg ID 617




                              Certificate of Service

      I hereby certify that on February 28, 2017, I electronically filed the

foregoing paper with the Clerk of the Court and served this document on the

following parties:

 Kathryn J. Miller                         Robert L. Avers
 Dickinson Wright                          Dickinson Wright PLLC
 350 S. Main Street                        350 S. Main Street
 Suite 300                                 Ste 300
 Ann Arbor, MI 48104-2131                  Ann Arbor, MI 48104
 (734) 623-7075 (ph.)                      734-623-1672 (ph.)
 (734) 623-1625 (fax)                      734-623-1627 (fax)
 kjmiller@dickinsonwright.com              ravers@dickinson-wright.com




                                       Respectfully Submitted,

                                       By: s/ Ian B. Lyngklip
                                       Ian B. Lyngklip (P47173)
                                       LYNGKLIP & ASSOCIATES
                                       CONSUMER LAW CENTER, PLC
                                       Attorney For Cynthia Archer-Gift
                                       24500 Northwestern Highway, Ste. 206
                                       Southfield, MI 48075
                                       (248) 208-8864
                                       Ian@MichiganConsumerLaw.Com
Dated: February 28, 2017
